
658 S.E.2d 663 (2008)
Muslima SUBKHANGULOVA (Dowdy); Diana Subkhangulova, a Minor Child, By and through her Guardian ad Litem, G. Elvin Small, Attorney at Law; and Albina Subkhangulova
v.
Gary Joseph DOWDY, Sr.
No. 574P07.
Supreme Court of North Carolina.
January 24, 2008.
K. Edward Greene, Tobias S. Hampson, Raleigh, for Gary Dowdy.
John Stuart Morrison, Elizabeth City, Darlene Chambers, Ronald Baker, Ahoskie, for Subkhangulova, et al.

ORDER
Upon consideration of the petition filed on the 3rd day of December 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
